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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF INDIANA
                               SOUTH BEND DIVISION


 CHRISTOPHER STAMM,

                Plaintiff.                         Case No. 3:21-cv-00869-JD-MGG

        v.                                         Hon. Judge Jon E. DeGuilio

 CETERIS PORTFOLIO SERVICES, LLC                   Hon. Judge Michael G. Gotsch, Sr.
 d/b/a SRA ASSOCIATES,

                Defendant.


             PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF CLAIMS

        Plaintiff, CHRISTOPHER STAMM (“Plaintiff”), through his undersigned counsel, hereby

 gives notice of the voluntary dismissal of this action. Plaintiff’s claims against Defendant are

 hereby dismissed, with prejudice, pursuant to Fed. R. Civ. P. 41(a)(1). Each party shall bear its

 own costs and attorneys’ fees.

 DATED this 25th day of March, 2022.                 Respectfully Submitted,

                                                      /s/Taxiarchis Hatzidimitriadis
                                                     Taxiarchis Hatzidimitriadis
                                                     CONSUMER LAW PARTNERS, LLC
                                                     333 N. Michigan Ave., Suite 1300
                                                     Chicago, IL 60601
                                                     (267) 422-1000 (phone)
                                                     (267) 422-2000 (fax)
                                                     teddy@consumerlawpartners.com

                                                     Attorneys for Plaintiff, Christopher Stamm
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                                 CERTIFICATE OF SERVICE

      I hereby certify that, on March 25, 2022, I electronically filed the foregoing Plaintiff’s

 Notice of Voluntary Dismissal of Claims with the Clerk of the District Court for the Northern

 District of Indiana using the CM/ECF system. Notice of this filing will be sent to all counsel of

 record via the Court’s CM/ECF system.


                                                     /s/ Taxiarchis Hatzidimitriadis
                                                     Taxiarchis Hatzidimitriadis
                                                     CONSUMER LAW PARTNERS, LLC




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